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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

UNITED STATES OF AMERICA,              §
                                       §
      Plaintiff,                       §
                                       §
VS.                                    §
                                       § CIVIL ACTION NO. 7:08-cv-00302
2.6433 ACRES OF LAND, more or less, in §
HIDALGO COUNTY, TEXAS; and             §
PAMELA RIVAS,                          §
                                       §
      Defendants.                      §

                                      FINAL JUDGMENT

        The Court hereby renders final judgment in this case in accordance with Federal Rules of

Civil Procedure 54 and 58. Having considered the parties’ “Stipulation for Revestment and Motion

for Entry of Final Judgment,”1 and having determined that it warrants entry of this final judgment, 2

the Court ORDERS, ADJUDGES, and DECREES that:

        Fee simple absolute title and full and immediate possession of Tracts RGV-MCS-1004,

RGV-MCS-1004E-1, RGV-MCS-1004E-2, RGV-MCS-1004E-3, RGV-MCS-1005-2, RGV-

MCS-1107, RGV-MCS-1108, RGV-MCS-1108-2, and RGV-MCS-1108-3, as particular ly

described in the United States’ Exhibits 1 and 2 attached to the stipulation, 3 totaling 2.6433 acres

of land located in Hidalgo County, Texas, together with all encumbrances not otherwise

discharged, are RE-VESTED in Defendant Pamela Rivas.




1 Dkt. No. 168.
2 Dkt. No. 172.
3 Dkt. Nos. 168-1 and 168-2.




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         The total sum of three thousand six hundred dollars ($3,600), together with any interest

earned while on deposit in the registry of the Court,4 constitutes just compensation under the Fifth

Amendment to the United States Constitution for the taking of the above-named Tracts and the

sum fully satisfies any claims of whatever nature by any Defendant against the United States for

this action and taking. Judgment is entered against Plaintiff United States of America for the

amount of just compensation. The Court ORDERS the Clerk of the Court to immediately disburse

the $26,950 and all interest on deposit in the Court’s registry payable in the following amounts:

        $3,600, together with a 13.36% share of all accrued interest, to the order of Pamela Rivas;
         and
        $23,350, together with an 86.64% share of all accrued interest, to the order of “F&A
         Officer, USAED, Fort Worth,” with a cover letter or check notation that references “Tract
         Nos. RGV-MCS-1004, 1004E-1, 1004E-2, 1004E-3, 1005-2, 1107, 1108, 1108-2, and
         1108-3.”

The “F&A Officer, USAED, Fort Worth” is:

Charanne Marshall
Finance and Accounting Officer, U.S. Army Engineer District
P.O. Box 17300
Room 3A37
Fort Worth, Texas 761025

         In the event that any other party is ultimately determined by a court of competent

jurisdiction to have any right to receive compensation for the interests in property taken in this

proceeding, Defendant Pamela Rivas shall refund into the registry of the Court her compensatio n

distributed by this final judgment, or such part thereof as the Court may direct, together with

interest thereon at the annual rate provided in 40 U.S.C. § 3116 from the date of receipt of

compensation to the date of repayment into the registry of the Court.




4See 40 U.S.C. § 3116. But see 40 U.S.C. § 3114(c)(1).
5See United States v. 1.8946 Acres of Land, more or less, in Starr Cnty., No. 7:20-cv-00026, Docket Entry (S.D.
Tex. June 7, 2021) (disbursing payment to the F & A Officer).


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                This final judgment is binding on the heirs, trustees, executors, administrators, devisees,

         successors, assigns, agents, and representatives of Defendant Pamela Rivas. This final judgment

         resolves all issues in this case. Each party to this proceeding is to bear its own costs and fees. Any

         relief not expressly granted in this final judgment is hereby DENIED. All deadlines and

         conferences in this case are CANCELLED and any pending motion, request, or other matter is

         DENIED AS MOOT. Execution may issue for this final judgment as allowed by law. This case

         is terminated and the Clerk of the Court is instructed to close the case.

                IT IS SO ORDERED.

                DONE at McAllen, Texas, this 21st day of September 2021.


                                                            ___________________________________
                                                                          Micaela Alvarez
                                                                    United States District Judge




Kathy Nguyen
 9/21/2021




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